             Case 3:21-cv-01448-MO   Document 4   Filed 10/20/21   Page 1 of 32




Juan C. Chavez, OSB #136428
Attorney at Law
PO Box 5248
Portland, OR 97208
Telephone: 503-944-2270
Facsimile: 971-275-1839

Alan Lloyd Kessler, OSB # 150209
Law Office of Alan L Kessler
1001 SE Sandy Blvd Ste 210
Portland OR, 97214
Telephone: 503-860-1020
Facsimile: 971-275-1839

        Of Attorneys for Plaintiff




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION

RECALL TED WHEELER, JOHN                    Case No. 3:21-cv-01448-MO
SCHROEDER, and MADELINE KAY,

Plaintiff,
                                            MOTION FOR TEMPORARY
       v.                                   RESTRAINING ORDER

MARY HULL CABALLERO, Portland City
Auditor, and LOUISE HANSEN, Elections
Officer,

Defendants.




                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                    Page 1 of 32
         Case 3:21-cv-01448-MO            Document 4    Filed 10/20/21     Page 2 of 32




                  MOTION FOR TEMPORARY RESTRAINING ORDER

       Pursuant to Fed. R. Civ. P. 65(a) and (b)(1), Plaintiffs request issuance of a Temporary

Restraining Order and Preliminary Injunction. Plaintiffs’ application demonstrates that

“immediate and irreparable injury, loss, or damage will result to the movant[s].” Fed. R. Civ. P.

65(b)(1)(A).

       Plaintiffs request an order enjoining Defendants from enforcing those portions of ORS

249.875 and all associated laws, administrative rules, and policies requiring the submission of at

least 47,788 signatures by October 6, 2021 in order to recall Mayor Ted Wheeler from office.

Defendants may accomplish this by removing or modifying Recall Ted Wheeler’s deadline for

submitting signatures, accepting digital and/or electronic signatures, and/or reducing the number

of signatures required to be submitted.

       Plaintiffs request an expedited hearing and relief on or before October 21, 2021.

       Plaintiff’s Motion is supported by the below Memorandum of Law, and the Declarations

of John Schroeder and Greg Bourget.




                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 2 of 32
             Case 3:21-cv-01448-MO                         Document 4               Filed 10/20/21               Page 3 of 32




                                                     TABLE OF CONTENTS

I. INTRODUCTION ..................................................................................................................... 5
II. STATEMENT OF FACTS...................................................................................................... 6
     A. The Campaign and Goals ..................................................................................................... 6
     B. The State’s Pandemic-related Restrictions on Signature Gathering .................................... 9
          1. Effects of the Pandemic on Oregon State Policy ............................................................ 9
     C. RTW’s extraordinary signature-gathering efforts despite restrictions on signature
     gathering ................................................................................................................................. 11
     D. Oregon Election Officials Recognized the Need to Modify Other Elections Processes in
     Light of COVID-19................................................................................................................. 13
     E. Numerous Courts in Other States Have Modified Election Requirements to Protect
     Political Rights in Light of COVID-19................................................................................... 14
III. STANDARD OF LAW......................................................................................................... 17
IV. ARGUMENT ........................................................................................................................ 18
     A. Plaintiffs Are Likely to Succeed on the Merits of Their State Constitutional Claims ....... 18
          1. Art. 2, § 18 of the Oregon Constitution Supports Plaintiff’s Sought Relief ................. 19
     B. Plaintiffs Are Likely to Succeed on the Merits of Their Federal Constitutional Claims ... 19
          1. As applied during the Pandemic-related government restrictions on Plaintiffs, Oregon's
          signature-submission deadline restricts one-on-one communication between petition
          circulators and voters. ....................................................................................................... 21
          2. As applied during the Pandemic-related government restrictions on Plaintiffs, Oregon's
          signature threshold and signature-submission deadline both make it less likely that
          proponents will be able to garner the signatures necessary to place an initiative on the
          ballot. ................................................................................................................................ 21
                a. Plaintiffs’ efforts to gather signatures under extraordinary circumstances have far
                exceeded reasonable diligence. ................................................................................... 22
                b. Oregon’s signature threshold and signature-submission deadline both significantly
                inhibit Recall Ted Wheeler’s ability to initiate a recall election. ............................... 24
                c. Defendants’ arbitrary 47,788 signature threshold cannot survive strict scrutiny in
                these unique circumstances ......................................................................................... 27
                d. Defendants’ submission deadline cannot survive strict scrutiny in these unique
                circumstances .............................................................................................................. 29
     C. Plaintiffs Will Suffer Irreparable Harm Without an Injunction ......................................... 30
     D. The Balance of Equities Sharply Favors Plaintiffs ............................................................ 30
     E. An Injunction Would Serve the Public Interest .................................................................. 31
V. CONCLUSION....................................................................................................................... 32

                             MOTION FOR TEMPORARY RESTRAINING ORDER
                                            Page 3 of 32
             Case 3:21-cv-01448-MO                        Document 4              Filed 10/20/21             Page 4 of 32




                                                  TABLE OF AUTHORITIES

Cases
Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127 (9th Cir. 2011) .............................. 19, 20
Anderson v. Celebrezze, 460 U.S. 780 (1983) .............................................................................. 26
Angle v. Miller, 673 F.3d 1122 (9th Cir. 2012) ..................................................................... passim
Associated Press v. Otter, 682 F.3d 821 (9th Cir. 2012) .............................................................. 33
Benda v. Grand Lodge of Int’l Ass’n. of Machinists & Aerospace Workers, 584 F.2d 308
  (9th.Cir. 1978) ........................................................................................................................... 20
Buckley v. Am. Constitutional Law Found., 525 U.S. 182 (1999) .......................................... 22, 23
Burdick v. Takushi, 504 U.S. 428 (1992) ...................................................................................... 27
City of Cuyahoga Falls Ohio v. Buckeye Cmty. Hope Found., 538 U.S. 188 (2003)................... 22
Democratic National Comittee v. Bostelmann, 451 F.Supp.3d 952 (W.D. Wis. Apr. 2, 2020). .. 17
Elrod v. Burns, 427 U.S. 347 (1976) ............................................................................................ 33
Esshaki v. Whitmer, 455 F.Supp.3d 367 (E.D. Mich. Apr. 20, 2020) .............................. 17, 30, 31
Esshaki v. Whitmer, 461 F.Supp.3d 646, (E.D. Mich. May 20, 2020) ........................................ 18
Esshaki v. Whitmer, 813 Fed.Appx. 170 (6th Cir. May 5, 2020) ..................................... 18, 30, 31
Fair Maps Nevada v. Cegavske, 463 F.Supp.3d 1123 (D. Nev. May 29, 2020) ................... passim
Faulkner v. Va. Dep’t of Elections, 104 Va. Cir. 373 (Va. Cir. Ct. Mar. 25, 2020). .............. 16, 30
Goldstein v. Sec’y of Commonwealth, 484 Mass. 516 (Mass. 2020) ................................. 17, 30, 32
Harper v. Virginia State Board of Elections, 383 U.S. 663 (1966). ............................................. 27
Koller v. Brown, 224 F. Supp. 3d 871 (N.D. Cal. 2016) .............................................................. 20
Libertarian Party of Illinois v. Pritzker, 455 F.Supp.3d 738 (N.D. Ill. Apr. 23, 2020) ......... 17, 30
Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012) ...................................................................... 33
Meyer v. Grant, 486 U.S. 414 (1988) .................................................................................... passim
Natural Res. Def. Council, Inc. v. Winter, 518 F.3d 658 (9th Cir. 2008) .............................. 19, 20
Nev. Comm'n on Ethics v. Carrigan, 564 U.S. 117 (2011)........................................................... 22
Perry Educ. Ass'n v. Perry Educators' Ass'n, 460 U.S. 37 (1983) ............................................... 27
Prete v. Bradbury, 438 F.3d 949 (9th Cir. 2006) .......................................................................... 29
SawariMedia LLC v. Whitmer, 466 F.Supp.3d 758 (E.D. Mich June 11, 2020) .................... passim
State ex rel. Postlethwait v. Clark, 143 Or. 482 (Or. 1933),......................................................... 21
Univ. of Tex. v. Camenisch, 451 U.S. 390 (1981) ....................................................................... 20
Warsoldier v. Woodford, 418 F.3d 989 (9th Cir. 2005)................................................................ 34
Winter v. Natural Res. Def. Council, 555 U.S. 7 (2008) .............................................................. 19
Statutes
ORS 249.875 ........................................................................................................................... 10, 23
ORS 250.105 ................................................................................................................................. 33
ORS 401.165 ................................................................................................................................. 12
ORS 401.990 ................................................................................................................................. 12
Constitutional Provisions
Mich. Const., 1963, Art. 2, § 9 ...................................................................................................... 19
Or. Const., Art. II, § 18 ....................................................................................................... 9, 21, 30
U.S. Const. Amend. I .............................................................................................................. 21, 22


                             MOTION FOR TEMPORARY RESTRAINING ORDER
                                            Page 4 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21   Page 5 of 32




                                   MEMORANDUM OF LAW

                                       I. INTRODUCTION

       The COVID-19 Pandemic (“the Pandemic”) and responsive “Stay Home, Save Lives”

government orders upended normal life. The mundane social act of approaching strangers in a

crowd to collect signatures on a petition has been complicated and frustrated by the pandemic in

many ways, such as regulations mandating or recommending outdoor masking, social distancing

restrictions, and drastically reduced foot traffic in public spaces.

       Pandemic-related public health restrictions are undoubtedly important protections, they

impose significant burdens on democratic participation. Plaintiffs are in the unique and

unfortunate position of attempting to collect signatures during not only a new, more deadly

phase of an already unprecedented pandemic, but historic heat waves due to climate change.

Hiring and retaining sufficient signature gatherers has been severely hampered due to

augmented unemployment benefits, COVID-19-related health scares and quarantines due to

exposure, a populace that has greatly reduced its interactions with the outside world, and a new,

more deadly phase of an already unprecedented pandemic.

       Faced with multiple and novel barriers to signature collection, Plaintiffs have

nevertheless diligently pursued signature collection through volunteer and paid efforts. Unlike

with almost every other aspect of life, no accommodations have been allowed to petitioners; the

Secretary of State and the Auditor of the City of Portland have insisted on pen-and-ink original

signatures, even when their offices have operated largely remotely. Although Ted Wheeler’s

approval rating is now at merely 13%—showing that many Portland voters are dissatisfied with

his leadership—the campaign is far from obtaining enough signatures to meet the 15% threshold

it must meet to recall this incredibly unpopular, embattled mayor. Without an extension of time

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 5 of 32
           Case 3:21-cv-01448-MO          Document 4      Filed 10/20/21     Page 6 of 32




to address the numerous, unprecedented impediments to the process, Plaintiffs will fall short of

Oregon’s pre-Pandemic signature requirements. Through no fault of their own, Plaintiffs now

stand unable to exercise their fundamental First Amendment rights to participate in the recall

process

          The United States Constitution requires Oregon’s election regulations, like all other

aspects of life, to adapt to the Pandemic’s exceptional circumstances. Courts across the country

have recently provided relief to parties, like Plaintiffs, who have struggled to meet election

requirements created for a world that looks nothing like the present day. Given Plaintiffs’

diligent efforts to comply with Oregon’s initiative signature requirements during exceptional

circumstances, and the practically insurmountable burden those requirements now impose on

Plaintiffs’ First Amendment rights to participate in the political process, this Court should grant

RTW’s request for injunctive relief.

                                   II. STATEMENT OF FACTS

A. The Campaign and Goals

          Recall Ted Wheeler (“RTW”) is a political committee formed to petition or the recall of

Portland mayor, Ted Wheeler, Plaintiff John Schroder is volunteer and a primary contributor to

RTW, and Plaintiff Madeline Kay is a paid petition circulator for RTW. Schroder Decl. ⁋ 2-4.

Plaintiff RTW filed a prospective petition with the Portland City Auditor’s Office on July 8,

2021. See Ex. 1 (prospective petition). Id. at ⁋ 5. The prospective petition contains the

following statement regarding the reasons for the recall:

                 Portland has endured years of crisis. When we needed a leader to
                 rise to the challenge, Ted Wheeler’s inaction made our problems
                 worse. Portlanders have lost confidence that their government will
                 be there in times of need. Our city is full of good-hearted, decent
                 residents. We should be an example to the world. Instead, with

                      MOTION FOR TEMPORARY RESTRAINING ORDER
                                     Page 6 of 32
         Case 3:21-cv-01448-MO           Document 4      Filed 10/20/21      Page 7 of 32




               Wheeler as mayor, we have veered off course and our city’s
               reputation has been tarnished.

               A recall is an expression of democracy designed to remove
               politicians who aren’t serving effectively. Portlanders are ready to
               recover and we can’t afford to waste the next three-and-a-half
               years. Portland deserves better than an uninspiring mayor re-
               elected with less than 47% of the vote. We deserve a mayor who
               was elected without personally loaning his campaign $150,000 of
               his own money in violation of Portland’s campaign finance laws.
               Our neighbors, families, and businesses deserve a mayor who
               prioritizes their safety and wellbeing.

               Ted Wheeler has repeatedly demonstrated to too many of use that
               he does not serve this city. Portlanders deserve a fresh start.

       Id. ⁋ 6, Ex. 1.

       On July 9, 2021 Defendant Caballero accepted the prospective petition and issued cover

and signature sheets for use in signature gathering. Id. ⁋ 7-8, Ex. 2. Caballero also approved a

so-called “electronic signature sheet” for use in signature gathering. Id. ⁋ 9-10, Ex. 3.

       At the time she approved the prospective petition for signature gathering, Ms. Caballero

established a minimum threshold of 47,788 verified signatures to trigger a recall election.

Id. ⁋ 13; Or. Const., Art. II, § 18(2) (the maximum allowable recall election threshold is

signatures equal to 15% of the number of electors who voted for Governor in the electoral

district at the most recent election at which a candidate for Governor was elected to a full term).

       Defendants required pen-and-ink signatures directly applied by the voter rather than any

digitally signed, scanned, copied, faxed, or otherwise electronically captured signatures.

Id. ⁋ 11. Notwithstanding its name, the electronic signature sheet was required to be printed by

or on request of the voter signing it and could only be used with physical pen-and-ink

signatures. Id. Would-be signers frequently asked the campaign whether electronic signatures




                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 7 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 8 of 32




were allowed, and were often surprised to find that only wet signatures would be accepted by

Defendants. Id. ⁋ 12.

       Relying on ORS 249.875(1), Defendant Caballero established a 90-day signature

submission deadline of October 6, 2021. Id. ⁋ 14.

       On August 16, 2021 and August 17, 2021 Plaintiff John Schroder emailed the Oregon

Secretary of State on behalf of RTW inquiring as to whether electronically signed copies of the

“electronic signature sheet” would be permitted; the answer was “no.” Id. ⁋ 15-16, Ex. 4.

       On September 22, 2021, Seth Woolley, the treasurer for Total Recall PAC sent a letter to

Ms. Caballero to withdraw her October deadline. Id. ⁋ 17-18, Ex. 5.

       On September 24, 2021, Louise Hansen, a city elections officer, informed Seth Woolley

that his request on behalf of Plaintiffs was denied. Id. ⁋ 19-20, Ex. 6.

       The recall petition campaign, including Plaintiffs’ signature gathering efforts, has taken

place entirely during the phase of the COVID-19 pandemic created by the Delta variant of the

virus (“Delta”) and within the period of time covered by Governor Brown’s related public

health emergency orders. Id. ⁋ 21. The COVID-19 pandemic made traditional political petition

signature gathering very difficult, for a variety of reasons. Despite these obstacles, Plaintiffs

have been diligently gathering signatures through volunteer efforts as well as staffing paid

gatherers. Id. ⁋ 22.To date, Plaintiffs have gathered over 21,000 signatures. Id. ⁋ 23.

This is roughly 44% of the total verified signatures required by Defendants. Id.

       Plaintiffs are continuing to gather signatures, however, its volunteer and financial

resources are substantially constrained in light of the purported October 6th deadline having

passed, creating a perception among the public that the effort has failed. Id. ⁋ 24.




                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 8 of 32
            Case 3:21-cv-01448-MO          Document 4       Filed 10/20/21     Page 9 of 32




           Plaintiff RTW was sufficiently funded to complete its petition within the arbitrary

timeline under normal circumstances. Bourget Decl. ⁋ 24. RTW followed best practices and

proven circulation strategies. Id. ⁋ 25. The effort did not fail because the public is not interested

in a recall; according to recent polling, Ted Wheeler currently has a 13% approval rating in the

City of Portland. Schroder Decl. ⁋ 25

           Plaintiffs’ entire recall petition campaign effort and signature gathering strategy has been

shaped and frustrated by the exigent circumstances surrounding the Delta phase of the

pandemic, including reintroduced restrictions, ongoing economic and inability to hire sufficient

paid signature gatherers.

B. The State’s Pandemic-related Restrictions on Signature Gathering

           COVID-19 and the actions taken by government to protect public health between March

7, 2020 and the date of this filing has radically changed the predictability of public activity in

Oregon. Necessary public health actions have been the result of the adoption of guidance by the

federal government, adherence to legal directives issued by the Governor of the State of Oregon,

as well as general public attitudes in response to an unprecedented global pandemic, including

the Delta variant which is two to three times as infectious as the original variant that caused

global shutdowns in March 2020.

           1. Effects of the Pandemic on Oregon State Policy

           In March of 2020, Oregon Governor Kate Brown began issuing an escalating series of

Executive Orders aimed at protecting public health by restricting public activities and in-person

gatherings of unrelated individuals. These Executive Orders, while necessary for public health

purposes, severely limited public gatherings that play a central role in signature gathering

efforts.

                       MOTION FOR TEMPORARY RESTRAINING ORDER
                                      Page 9 of 32
        Case 3:21-cv-01448-MO           Document 4      Filed 10/20/21      Page 10 of 32




       On March 7, 2020, Oregon Governor Kate Brown issued Executive Order No. 20-¬03,

declaring a State of Emergency pursuant to ORS 401.165 et seq finding that the novel infectious

coronavirus has created a threat to public health and safety, and constitutes a statewide

emergency under ORS 401.021(1). The Executive Order established that the state of emergency

shall exist for sixty days unless extended or terminated by the Governor.

       On March 12, 2020, Governor Brown issued Executive Order No. 20-05 which banned

gatherings larger than 250 people and ordered the statewide closure of K-12 schools. The

Executive Order applied to community, civic, public, leisure, faith-based, and sporting events,

concerts, conventions, fundraisers, and any similar events or activities if a minimum of three

feet of space cannot be maintained between participants.

       On March 17, 2020, Governor Brown issued Executive Order No. 20-07 which further

restricted public movement, required additional social distancing measures, and bans all public

gatherings of 25 or more people.

       On March 23, 2020, Governor Brown issued Executive Order No. 20-12, which

established mandatory social distancing requirements of at least six feet from any person who

does not live in same household, with violations subject to penalties described in ORS 401.990.

The order includes no end date, stating that it will remain in effect “until terminated by the

governor.”

       On May 1, 2020, Governor Brown signed Executive Order No. 20-24, extending the

state of emergency in response to Covid-19 for an additional 60 days through July 6, 2020.

       On May 14, 2020, Governor Brown issued Executive Order No. 20-25 which established

criteria counties would have to meet before being allowed to move to a phased reopening of




                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 10 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21   Page 11 of 32




businesses and other facilities along with permitting gatherings of gradually increasing number

of individuals in those counties.

       By June 19, 2020, Oregon’s three most populous counties–Multnomah, Washington, and

Clackamas–were granted Phase I reopening status. Phase I mandated physical distancing of at

least six feet and significant restrictions on large gatherings.

       On June 30, 2021, Governor Brown rescinded EO 20-66. However, many masking and

social distancing requirements are now a part of state laws and regulations. On August 24th,

2021 Governor Brown reinstituted mask requirements, including wearing masks outdoors when

maintaining social distancing of 6 feet was not possible.

       OAR 333-019-1025 requires masking wearing when indoors in public spaces and

outdoor spaces with people from other households. The regulation specifically states this is

because Delta is two to three times more transmissible than the previous variants, and because

vaccinated people can contract and infect others with Delta. Moreover, following social

distancing requirements for over a year has conditioned people to be avoidant of unnecessary

encounters.

       The unique conditions of this past summer made door-to-door canvassing and

approaching strangers on the street less successful because people are less likely to engage with

petition signature gatherers because of the past 18 months of social distancing and avoiding

encounters that are not strictly necessary.

C. RTW’s extraordinary signature-gathering efforts despite restrictions on signature
gathering

       By the time RTW was authorized to begin its signature collection efforts to petition for

the Recall, the routines and behaviors of the general public on which the petitioning process

typically relied were no longer present. Bourget Decl. ⁋ 30. RTW’s petition circulators could
                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 11 of 32
        Case 3:21-cv-01448-MO           Document 4      Filed 10/20/21      Page 12 of 32




not smile at strangers and casually approach to hand them petitions; these once-normal routines

were suddenly dangerous, socially unacceptable, and—to varying degrees during the

petitioning period—illegal. Id. ⁋ 31. The social gatherings of people that would have facilitated

contact with large numbers of voters were prohibited. Id. ⁋ 32. Petitioning in public forums,

typically the most effective form of signature gathering, was stymied by the relative absence of

people in public as well as understandable caution by those who remained. Id. ⁋ 33

       Despite these tremendous challenges, RTW has engaged in a good faith effort to meet the

qualifying signature requirements using conventional and unconventional petitioning methods.

Id. ⁋ 34. Although some parts of this campaign are straightforward—for example, RTW created a

website portal allowing Portlanders to download petitions and signature pages at home—key

aspects are acutely burdensome. Id. ⁋ 35. Most homes do not have the capacity to print

documents on the required 20-pound paper, and any printed petition would still need to be

addressed and mailed by the signing party, creating additional barriers to participation. Or.

Admin. R. 165-014-0005; Bourget Decl., ⁋ 36.

       RTW gathered donations in excess of $147,000 from donors. Id. ⁋ 37 Historically, this

money would have been more than enough to ensure success of the signature-gathering campaign

through a combination of volunteer and paid circulators. Id. ⁋ 38 Before the pandemic, it cost

approximately $2.20 per signature obtained by paid circulators on comparable campaigns. Id. ⁋

39.

       In a typical petitioning effort, a campaign would use about 20 circulators at high-foot-

traffic locations around the City and would be able to obtain 47,788 signatures in two months

at a cost of $105,000 which includes all labor, administrative, and material costs. Id. ⁋ 15. Had

RTW been able to collect signatures in the usual manner under pre-Pandemic circumstances, it

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 12 of 32
            Case 3:21-cv-01448-MO              Document 4          Filed 10/20/21         Page 13 of 32




    would have met the signature requirement in a 7-week period before the October 6, 2021

    submission deadline. Id. ⁋ 8. Despite these efforts, the Delta’s frustration of the traditional

    signature collection methods has proven insurmountable and RTW obtained only 21,000 of the

    47,788 signatures required by Defendants by their deadline. Id. ⁋ 40; Schroder Decl. ⁋ 27.

D. Oregon Election Officials Recognized the Need to Modify Other Elections Processes in
Light of COVID-19

           On March 19, 2020, Oregon’s Secretary of State determined that “[b]ecause Oregon votes

    by mail we do not have to be concerned about social distancing issues,” so she moved forward

    with the May 19 primary election while also developing “[c]ontingency plans . . . to deal with

    any impacts the COVID-19 virus may have on our election processes.” 1

           On March 24, 2020, in light of the Governor’s Executive Order one day earlier, the

    Secretary suspended most agency in-person services and began requiring appointments

    for limited in-person elections services.2 These restrictions continue today. 3

           On June 12, 2020, the Secretary convened the first meeting of the Financial Estimate

    Committee as a live-streamed remote meeting, despite having only four members and a few

    staff.4 The Secretary chairs this committee, which drafts financial estimates of potential ballot




1
  Press Release, Oregon Secretary of State, May Primary Moves Forward as Planned (Mar. 19, 2020),
https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=36214.
2 Press Release, Oregon Secretary of State, Service Impacts to Secretary of State (Mar. 23, 2020),
https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=36242; Press Release, Oregon Secretary of
State, News from the Secretary of State (Apr. 15, 2020),
https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=36377 (“In light of the Governor’s Executive
Order and the current health situation in general, I have ordered my staff to suspend in-person services normally
offered by Secretary of State’s office until further notice. The vast majority of public needs can be addressed online,
by phone, or email. Statutorily required in-person services will be available by appointment only.”).
3 Secretary of State Response to COVID-19, Oregon Secretary of State Bev Clarno (last visited Jun. 29, 2020),

https://sos.oregon.gov/Pages/covid-19.aspx (“All in-person services normally offered by Secretary of State are
suspended until further notice.”).
4
  Press Release, Secretary of State, Financial Estimate Committee Meeting: June 12, 2020 (Jun. 8, 2020),
https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=36761.
                        MOTION FOR TEMPORARY RESTRAINING ORDER
                                      Page 13 of 32
         Case 3:21-cv-01448-MO              Document 4         Filed 10/20/21        Page 14 of 32




measures for the voters’ pamphlet. As chair, the Secretary determined that a remote meeting was

needed and had members sign an official committee document electronically.5 Committee staff

working at the direction of the Secretary as chair indicated that all official documents would be

signed electronically for the remainder of the summer.6

        On June 19, 2020, the Secretary announced that meetings of the Financial Estimate

Committee scheduled for July 8, July 9, July 23, and even as far out as August 5, 2020 would not

allow in-person public testimony despite statutory public hearing requirements.7

E. Numerous Courts in Other States Have Modified Election Requirements to Protect
Political Rights in Light of COVID-19

        On March 25, 2020, a Virginia court granted a preliminary injunction reducing the

number of signatures needed to be a primary election candidate by 66%. The court found that

“the circumstances as they exist in the Commonwealth of Virginia and across the United

States are not normal right now,” and that the signature threshold was not narrowly tailored

because it did “not provide for emergency circumstances, like those that currently exist.”

Faulkner v. Va. Dep’t of Elections, 104 Va. Cir. 373 (Va. Cir. Ct. Mar. 25, 2020).

        On April 2, 2020, a Wisconsin federal court extended deadlines for requesting an

absentee ballot, for postmarking absentee ballots, and for absentee ballots to be received after

election, due to the undue burden on constitutional rights created by otherwise applicable




5 Appointment of City, County, or District Representative to the Financial Estimate Committee, Financial Estimate
Committee (Jun. 12, 2020),
https://sos.oregon.gov/elections/Documents/fec/Appoint-5th-member-signed.pdf.
6 The Secretary of State’s office said they are preparing IP57 for a possible financial estimate
statement. Financial Estimate Committee, June 12, 2020 Meeting (Oregon State Legislature 2020),
https://oregon.granicus.com/MediaPlayer.php?view_id=23&clip_id=28268 (at 15:02 to
15:37).
7 Press Release, Secretary of State, Financial Estimate Committee (FEC) Meeting Schedule (Jun. 19, 2020),
https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=36826.

                      MOTION FOR TEMPORARY RESTRAINING ORDER
                                    Page 14 of 32
        Case 3:21-cv-01448-MO          Document 4      Filed 10/20/21     Page 15 of 32




statutory requirements in light of COVID-19. Democratic National Comittee v. Bostelmann, 451

F.Supp.3d 952, 982-983 (W.D. Wis. Apr. 2, 2020).

       On April 17, 2020, Massachusetts’ highest state court ordered a 50% reduction in the

signature requirement to be a candidate and extended the deadlines for filing signatures. The court

agreed that “these extraordinary times of a declared state of emergency arising from the COVID-

19 pandemic create an undue burden on prospective candidate’s constitutional right to seek

elective office.” Goldstein v. Sec’y of Commonwealth, 484 Mass. 516, 517 (Mass. 2020).

        On April 20, 2020, a Michigan federal court granted a motion for preliminary injunction

reducing the state signature requirement by 50% for a candidate to Michigan’s Eleventh

Congressional District and extending the submission deadline after finding that “the State’s

actions in the form of enforcing both the Stay-at-Home Order and the statutory ballot-access

requirements operate in tandem to impose a severe burden.” Esshaki v. Whitmer, 455 F.Supp.3d

367, 370 (E.D. Mich. Apr. 20, 2020). The court found that “state action”—Michigan’s social

distancing order—“pulled the rug out from under [candidates’] ability to collect signatures,”

“shuttered” the locations and events at which signatures are normally gathered, and left only

“prohibitively expensive” means to obtain signatures. Id. at 377. Further, the court found that

the option of running a mail-only petition campaign was not sufficient and created an

unacceptable hurdle to ballot access. Id. at 376.

        On April 23, an Illinois federal court granted a motion for preliminary injunction

eliminating the signature requirements for candidates of existing third parties as well as

reducing the signature requirement by 90% and extending the submission deadline for a

candidate to qualify from a new party or as an independent. Libertarian Party of Illinois v.

Pritzker, 455 F.Supp.3d 738, 745-746 (N.D. Ill. Apr. 23, 2020).

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 15 of 32
        Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 16 of 32




       On May 5, 2020, the Sixth Circuit Court of Appeals upheld the Esshaki order enjoining

the state from enforcing the signature threshold and submission deadline but stayed the specific

remedy ordered by the district court. Instead, the Sixth Circuit ordered the state “to select its

own adjustments so as to reduce the burden on ballot access, narrow the restrictions to align

with its interest, and thereby render the application of the ballot access provisions

constitutional under the circumstances.” The Sixth Circuit noted that the district court’s

ordered remedy was not necessarily right or wrong, but rather that the state needed to have the

first opportunity to attempt to remedy the constitutional violation before the court weighed in

on whether the state’s attempted remedy was sufficient. Esshaki v. Whitmer, 813 Fed.Appx.

170, 172-173 (6th Cir. May 5, 2020).

       On May 8, 2020, Michigan adopted the three remedies originally ordered by the district

court in Esshaki—including the 50% signature reduction and delayed deadline—but limited

the availability of those remedies to candidates who had created candidate committees by

March 10, 2020. On May 20, 2020, however, the district court enjoined the state’s

enforcement of the additional requirement to file a candidate committee by March 10 as overly

burdensome. Esshaki v. Whitmer, 461 F.Supp.3d 646, 651 (E.D. Mich. May 20, 2020).

       On May 29, 2020, a Nevada federal court granted a motion for preliminary injunction

extending the deadline for initiatives to file signatures. The court held that it is “both

unreasonable and unfair not to extend a statutory deadline for a corresponding period of time”

as the six weeks Plaintiffs were effectively prohibited from collecting signatures by the

Governor’s Stay-at-Home orders. Despite the fact that the Secretary of State would be

“severely inconvenienced” by extending the deadline, the court held that the normal deadline

was “neither narrowly tailored, nor does it advance a compelling governmental interest under

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 16 of 32
        Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21     Page 17 of 32




the circumstance.” Fair Maps Nevada v. Cegavske, 463 F.Supp.3d 1123, 1145-1147 (D. Nev.

May 29, 2020).

        On June 11, 2020, a Michigan federal court granted a motion for preliminary injunction

and held that both the Michigan constitution’s signature threshold and the statutory signature

deadline for placing an initiative on the ballot were unconstitutional as-applied in light of the

state’s COVID-19-related orders. The court recognized that “there is nothing inherent in the

[8%] signatures threshold that establishes that an initiative has a modicum of public support only

if it has that many signatures.” SawariMedia LLC v. Whitmer, 466 F.Supp.3d 758, 774 (E.D.

Mich June 11, 2020). Notably, Michigan’s constitutional signature threshold in Mich. Const.,

1963, Art. 2, § 9 is nearly identical to Oregon’s—8% “of the total vote cast for all candidates for

governor at the last preceding general election at which a governor was elected”—and it was

found unconstitutional as-applied in SawariMedia.

                                   III. STANDARD OF LAW

       The Court may grant a temporary restraining order or preliminary injunction by finding

one of two sets of criteria are satisfied. Natural Res. Def. Council, Inc. v. Winter, 518 F.3d 658,

677 (9th Cir. 2008). The “traditional” criteria consider four factors: (1) the likelihood of success

on the merits, (2) the likelihood of irreparable harm in the absence of preliminary relief, (3) the

balance of equities, and in some cases, (4) the public interest. Id.; Winter v. Natural Res. Def.

Council, 555 U.S. 7, 24, 129 S. Ct. 365, 172 L.Ed.2d 249 (2008); Alliance for the Wild Rockies

v. Cottrell, 632 F.3d 1127, 1131, 1135-38 (9th Cir. 2011).

       Ninth Circuit courts, among others, use a “sliding scale” to evaluate these equitable

factors. A strong showing on one of the factors may offset a weak showing on another. Cottrell,

632 F.3d at 1131-32. Thus, for example, “a preliminary injunction is appropriate when plaintiff

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 17 of 32
          Case 3:21-cv-01448-MO               Document 4          Filed 10/20/21        Page 18 of 32




demonstrates that serious questions going to the merits were raised and the balance of hardships

tips sharply in the plaintiff’s favor.”8 Id. at 1134-35 (internal quotations and citations omitted).

         Alternatively, a court may grant the request for a temporary restraining order if the

plaintiff demonstrates either (1) a combination of probable success on the merits and the

possibility of irreparable injury, or (2) that serious questions are raised, and the balance of

hardships tips sharply in the plaintiff’s favor. Natural Res. Def. Council, Inc., 518 F.3d at 677.

To succeed under the “serious question” test, Plaintiffs must show that they are likely to suffer

irreparable injury and that an injunction is in the public’s interest. Cottrell, 632 F.3d at 1132.

Plaintiffs satisfy both criteria, and this court should issue a Temporary Restraining Order for

Plaintiffs’ Putative Class.

                                               IV. ARGUMENT

A. Plaintiffs Are Likely to Succeed on the Merits of Their State Constitutional Claims

         To satisfy the “likelihood of success” element, the plaintiffs do not have to “prove [their]

case in full” nor show that they are “more likely than not to prevail.” Koller v. Brown, 224 F.

Supp. 3d 871, 875 (N.D. Cal. 2016) (quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395

(1981)). Rather, a plaintiff must show only that the plaintiff has a “fair chance of success on the

merits or raises questions serious enough to require litigation.” Koller, 224 F. Supp. 3d at 875

(quoting Benda v. Grand Lodge of Int’l Ass’n. of Machinists & Aerospace Workers, 584 F.2d

308, 315 (9th.Cir. 1978)); see also All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131

(9th Cir. 2011) (“This circuit has adopted and applied a version of the sliding scale approach

under which a preliminary injunction could issue where the likelihood of success is such that



8
 The Supreme Court held in Winter that a preliminary injunction should not issue if a plaintiff shows only a
possibility of harm rather than a likelihood of harm. Winter, 555 U.S. at 21; see also 632 F.3d at 1135. However, it
did not reject the sliding scale or “serious question” frameworks. 632 F.3d at 1132-34.
                       MOTION FOR TEMPORARY RESTRAINING ORDER
                                     Page 18 of 32
         Case 3:21-cv-01448-MO           Document 4      Filed 10/20/21      Page 19 of 32




‘serious questions going to the merits were raised and the balance of hardships tips sharply in

[plaintiff's] favor.’”).

        1. Art. 2, § 18 of the Oregon Constitution Supports Plaintiff’s Sought Relief

        The portions of Section 18 that address the applicable period of this recall reads:

                 (1) Every public officer in Oregon is subject, as herein provided, to
                 recall by the electors of the state or of the electoral district from
                 which the public officer is elected.

                 (2) Fifteen per cent, but not more, of the number of electors who
                 voted for Governor in the officer's electoral district at the most
                 recent election at which a candidate for Governor was elected to a
                 full term, may be required to file their petition demanding the
                 officer's recall by the people.

        Or. Const. Art. 2, § 18.

        Following these provisions, the Oregon Constitution provides no durational limitation,

nor provision to refuse a petition from electors. Upon receipt of a recall petition, the City Clerk

must then “determine whether it has sufficient number of signatures properly verified, and that

signers are qualified legal voters, and if [they] deem[] it necessary check signatures with county

clerk's registration.” State ex rel. Postlethwait v. Clark, 143 Or. 482, 489 (Or. 1933), citing Or.

Const. Art. 2, § 18 (emphasis added). Per the Oregon Constitution, the number of signatures

gathered is the sole criterion on which petitions for recall should be judged.

        Plaintiffs, as argued further below, will likely meet that numerical burden with additional

time, and would have done so already had not the region been embroiled in a pandemic, labor

shortage, and dangerous weather.

B. Plaintiffs Are Likely to Succeed on the Merits of Their Federal Constitutional Claims

        The right to petition the government is at the core of First Amendment protections,

which include the right of initiative. City of Cuyahoga Falls Ohio v. Buckeye Cmty. Hope

                      MOTION FOR TEMPORARY RESTRAINING ORDER
                                    Page 19 of 32
        Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 20 of 32




Found., 538 U.S. 188, 196 (2003). As such, the circulation of recall petitions is “core political

speech” where First Amendment protection is at its “zenith.” Meyer v. Grant, 486 U.S. 414,

421-422, 425 (1988); see also Nev. Comm'n on Ethics v. Carrigan, 564 U.S. 117, 128 (2011).

While certain regulations of the recall process are valid, regulations that are overly burdensome

to the recall process–let alone regulations that would make participation in the recall process

effectively impossible–are met with strict scrutiny. Buckley v. Am. Constitutional Law Found.,

525 U.S. 182, 197 (1999) (blocking requirement that petition circulators be registered voters).

       In Meyer, for example, the United States Supreme Court overturned prohibitions on paid

petition circulators. Meyer, 486 U.S. at 423. While recognizing that petitioners had “other

avenues of expression” and that “the State has the authority to impose limitations on the scope

of the state-created right to legislate by initiative,” the Court determined that the “prohibition of

paid petition circulators restricts access to the most effective, fundamental, and perhaps

economical avenue of political discourse, direct one-on-one communication.” Id. at 424

(emphasis added). Going further, the Court determined that leaving open “‘more burdensome’

avenues of communication, does not relieve its burden on First Amendment expression.” Id.

(citations omitted). Rather, the “First Amendment protects appellees’ right not only to advocate

their cause but also to select what they believe to be the most effective means for so doing.” Id.

       The Ninth Circuit has recognized that the analysis in Meyer is directly parallel to the

type of situation in this case. The Ninth Circuit found two categories of restrictions on initiatives

that create a “severe burden” triggering strict scrutiny: (1) “restrict[ing] one-on-one

communication between petition circulators and voters” (2) “mak[ing] it less likely that

proponents will be able to garner the signatures necessary to place an initiative on the ballot.”

Angle v. Miller, 673 F.3d 1122, 1132 (9th Cir. 2012).

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 20 of 32
        Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 21 of 32




       1. As applied during the Pandemic-related government restrictions on Plaintiffs, Oregon's
       signature-submission deadline restricts one-on-one communication between petition
       circulators and voters.

       In evaluating the first category of “severe burden,” the Ninth Circuit considers whether a

restriction “limits the number of voices who will convey the initiative proponents’ message," or

“discourages participation in the petition circulation process.” Id. at 1132-33 (quoting Buckley,

525 U.S. at 194-95, 200). Oregon requires recall proponents to turn in signatures at least four

months before the election, which is July 2, 2020 for this election. Oregon statute requires a

recall petitioner to return the required number of signatures within 90 days of the filing of the

prospective petition. ORS 249.875. There is no question that this deadline “restrict[s] one-on-

one communication between petition circulators and voters” as it shortens the time period for

such communication to occur. Further, it limits the overall number of voices that will be

involved— for example, someone who only hears about the initiative after the deadline will

never have the opportunity to convey the initiative’s campaign message if the deadline prevents

the initiative from qualifying. For the same reasons, it also discourages voters participating in

the petition circulation process, especially where, as here, Pandemic-related restrictions on

person-to-person contact are expected to be in place well past the deadline. Thus, the petition-

submission deadline is subject to strict scrutiny.

       2. As applied during the Pandemic-related government restrictions on Plaintiffs, Oregon's
       signature threshold and signature-submission deadline both make it less likely that
       proponents will be able to garner the signatures necessary to place an initiative on the
       ballot.

       In evaluating the second category of “severe burden,” the Ninth Circuit recognized that

“ballot access restrictions place a severe burden on core political speech, and trigger strict

scrutiny, when they significantly inhibit the ability of initiative proponents to place initiatives on

the ballot”—thereby “limiting their ability to make the matter the focus of statewide
                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 21 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 22 of 32




discussion.” Angle, supra, 673 F.3d at 1132-33 (quoting Meyer, 486 U.S. 423). An initiative

barrier will be subject to strict scrutiny if “(1) the proponents of the initiative have been

‘reasonably diligent’ as compared to other initiative proponents; and (2) when the restrictions

significantly inhibit the proponents’ ability to place an initiative on the ballot.” Fair Maps

Nevada, 463 F.Supp.3d at 1142 (D. Nev. May 29, 2020) (quoting Angle, 673 F.3d at 1132).

                a. Plaintiffs’ efforts to gather signatures under extraordinary circumstances
                have far exceeded reasonable diligence.

        Plaintiffs’ efforts to collect signatures in the midst of a global pandemic and climate

disaster easily meet the first Angle requirement for application of strict scrutiny to Oregon’s

ballot initiative signature requirements.

        In Fair Maps Nevada, the federal court found reasonable diligence when petitioners

pushed forward with organizing their campaign infrastructure during pre-circulation legal

challenges, begin gathering signatures as soon as the main legal challenges were resolved, and

continued working on their campaign infrastructure when COVID-19-related government orders

effectively prevented circulation. This was despite the facts that petitioners (1) did not file their

initiative until January 7, 2020; (2) had collected less than 11% of required signatures—only

about 10,000 out of the 97,598 needed; (3) did not even attempt to collect any signatures after

the Stay-at-Home order went into effect; and (4) had not presented any evidence about

comparable initiative campaigns. Id. Since this fact pattern showed reasonable diligence,

Plaintiffs in this case satisfy this requirement easily. See also SawariMedia, 466 F.Supp.3d 758,

772 (E.D. Mich June 11, 2020) (holding Plaintiffs showed “diligence” by collecting over 60% of

required initiative signatures despite waiting to file until January 16, 2020).

        Plaintiff maintained their concerted efforts to support signature gathering throughout the

90 day period allotted by statute, despite labor shortages, the pandemic, and calamitous weather.
                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 22 of 32
         Case 3:21-cv-01448-MO              Document 4         Filed 10/20/21       Page 23 of 32




Predominant among these issues, the Delta Variant of the COVID-19 virus plagued the recall

effort by limited the amount of people who would be normally willing to engage with signature

gatherers. Understandably, most people would be cautious to approach within 6 feet of a

signature gatherer. Places frequented by petition signers, like MAX stations or shopping centers,

were vacant. Bourget Decl., ¶¶ 12-14, 22. The typical social faculties that facilitate signature

gathering—smiling faces, shaking hands, prolonging contact through dialogue—were

incompatible with the reality of a worsening pandemic. Id., ¶ 31. The pandemic also directly put

operation of the recall effort in jeopardy. Workers for the recall effort contracted COVID-19 or

came into close contact with the disease. Id., ¶ 20. This cause work stoppages from both sick

time and from people leaving the campaign. Id.

        COVID-19 contributed further to the recall effort’s labor problem. Under non-pandemic

circumstances, a recall effort like Plaintiff’s could have expected to have hired five petition

circulators collecting signatures at a rate of 14-20 per gatherer. Bourget Decl., ¶ 9. Plaintiff

“followed… normal processes and best practices” for running a petition-driven campaign, but

Plaintiff could not maintain “more than two workers averaging 12 signatures per hour.” Bourget

Decl., ¶ 11. The pandemic has created unusual strains on the labor market. Following mass

layoffs in 2020, many laborers have remained on unemployment until they can find new,

permanent employment. Id., ¶ 19. Receiving unemployment benefits during the pendency of the

pandemic has been arduous for many workers.9 Petition-driven efforts could typically rely on

some people requiring temporary employment. Bourget Decl., ¶ 19. But now, taking temporary




9
  Mike Rogoway, Gov. Kate Brown fires director of Oregon Employment Department over delays in delivering
jobless benefits, The Oregonian (May 31, 2020), available at https://www.oregonlive.com/business/2020/05/gov-
kate-brown-fires-director-of-oregon-employment-department-over-delays-in-delivering-jobless-benefits.html
                      MOTION FOR TEMPORARY RESTRAINING ORDER
                                    Page 23 of 32
         Case 3:21-cv-01448-MO              Document 4         Filed 10/20/21        Page 24 of 32




employment would disrupt needed unemployment benefits, making matters on the hiring-end

difficult for filling temporary signature-gathering positions. Id.

        Further compounding this, in the Summer of 2021 the Pacific Northwest faced

unprecedented heat waves. While the most significant heat event occurred approximately two

weeks before Plaintiff’s petition was filed, its specter haunted the following weeks. The

heatwave of June 2021 killed 96 people in Oregon. 10 July and August also saw record heat.

Bourget Decl., ¶ 23. When Plaintiff saw the coming heat wave of mid-August, for the good of

their workers they did not hire nor send out canvassers for fear of putting them in further

danger. Id. This caused further delay and hardship to their signature gathering effort.

        Plaintiff had the funding, Id. at ¶ 37, and a popular mandate, John Dec. at ¶ 25, but not

the labor. Bourget Decl., ¶ 28. Regardless, Plaintiff has continued to collect signatures to this

date.

        As demonstrated above, Plaintiff has taken every effort necessary to successfully

prosecute their recall campaign, but have been frustrated by an unrealistic signature gathering

deadline.

                 b. Oregon’s signature threshold and signature-submission deadline both
                 significantly inhibit Recall Ted Wheeler’s ability to initiate a recall election.

        Oregon’s signature-gathering requirements—and Defendants’ refusal to grant RTW

relief from them—satisfy the second Angle requirement for strict scrutiny because they

significantly inhibit RTW’s ability to place the Initiative on the ballot. Courts assess regulations

and restrictions on the right to vote and to engage in political expression under the sliding-scale

standards established by Anderson v. Celebrezze, 460 U.S. 780 (1983), and Burdick v. Takushi,


10
  Amelia Templeton and Monica Samayoa, Oregon medical examiner releases names of June heat wave victims,
Oregon Public Broadcasting (Aug. 6, 2021), available at https://www.opb.org/article/2021/08/06/oregon-june-heat-
wave-deaths-names-revealed-medical-examiner/
                       MOTION FOR TEMPORARY RESTRAINING ORDER
                                     Page 24 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 25 of 32




504 U.S. 428 (1992). If a severe burden on these rights is established, then strict scrutiny

applies. See, e.g., Harper v. Virginia State Board of Elections, 383 U.S. 663 (1966).

       The Supreme Court has identified ways in which regulations on the initiative process

may burden “core political speech.” Meyer, 486 U.S. at 422. Regulations may make it less likely

that proponents will be able to gather the necessary signatures to get their initiative on the ballot,

“thus limiting their ability to make the matter the focus of statewide discussion.” Id. at 423. In

Meyer, the unconstitutional restriction was a ban on paid signature gathering, which is the most

efficient subset of in-person petitioning. Id. at 424. Such ballot initiative regulations trigger

strict scrutiny when they “significantly inhibit the ability of initiative proponents to place

initiatives on the ballot.” Angle, 673 F.3d at 1133.

       Here, the analysis is very simple. RTW cannot qualify a recall election with the current

signature threshold, requirement for wet signatures, and submission deadline. This factor is met,

and strict scrutiny is triggered for all three requirements.

       Oregon’s recall petition signature requirements pose such a significant burden to RTW’s

efforts because the requirements have failed to account for the Pandemic’s wave of

unprecedented public restrictions. Governor Brown’s Stay Home, Save Lives order, the banning

of public gatherings of larger than 25 people, and six-feet social distancing requirements have

severely limited the one-on-one communication between the plaintiffs, petition circulators, and

voters. They preclude the traditional approach to signature-gathering, where circulators engage

voters in the public arena and highly-trafficked areas, including markets or public-transportation

nexuses, which are the type of quintessential public forums where First Amendment Protections

are at their highest. See, e.g., Perry Educ. Ass'n v. Perry Educators' Ass'n, 460 U.S. 37, 45

(1983). These in-person interactions, in public spaces less than six feet apart with strangers, are

                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 25 of 32
         Case 3:21-cv-01448-MO          Document 4       Filed 10/20/21     Page 26 of 32




at the core of traditional signature-gathering practices and were integral parts of the elections

used to set the current signature requirement figures. As recognized by the court in Fair Maps

Nevada, the Pandemic-related state restrictions create the factual circumstances under which the

signature threshold and submission deadline requirements are severely burdensome.

        The Pandemic-related orders prevent high-efficiency, in-person paid circulators—a

prohibition that the United States Supreme Court found was unconstitutional in Meyer.

However, the Pandemic-related orders also go even further than the unconstitutional prohibition

in Meyer by also restricting in-person volunteer circulators. Now, although the Pandemic has

completely stymied fundamental signature-gathering practices, Defendants have not adjusted

the signature requirements accordingly.

        The arbitrary submission deadline for the petition and the high signature threshold in

light of the Pandemic and the subsequent restrictions on movement made it practically

impossible for the proponents to gather the necessary signatures to qualify for a recall election.

With the significant restriction on collecting signatures due to social distancing measures,

historic weather events, and labor shortages Plaintiff RTW was unable to gather the required

number of signatures to meet the signature threshold and submission deadline. If relief is not

granted by this court this will preclude Plaintiffs from initating a recall of a profoundly

unpopular elected official and places a severe burden on the Plaintiffs’ core political speech. As

the court recognized in Fair Maps Nevada, this satisfies the second prong of the Angle test and

triggers strict scrutiny.

///

///

///

                      MOTION FOR TEMPORARY RESTRAINING ORDER
                                    Page 26 of 32
           Case 3:21-cv-01448-MO        Document 4         Filed 10/20/21   Page 27 of 32




       3. Oregon’s signature threshold and signature-submission deadline both fail strict
       scrutiny as-applied during the Pandemic-related government restrictions on RTW.

       In order to survive strict scrutiny, Defendants’ signature requirements must be narrowly

tailored to further a compelling government interest. Prete v. Bradbury, 438 F.3d 949, 961-62

(9th Cir. 2006). Defendants’ regulations fail that test.

       The present combination of restrictions is even more burdensome than the restriction on

paid circulators that the Supreme Court held unconstitutional in Meyer. The Pandemic-related

orders restricting both paid and volunteer in-person circulation, in combination with the

artificial signature thresholds and turn-in deadlines, create an overall regulation scheme that is

unconstitutional as-applied to RTW in this unique situation.

                c. Defendants’ arbitrary 47,788 signature threshold cannot survive strict
                scrutiny in these unique circumstances

       The signature threshold requirement to place an initiative on the ballot is not narrowly

tailored given the challenges faced by RTW to collect signatures during the Pandemic-related

orders. RTW recognizes Defendants’ interest in conducting an orderly election process and

ensuring reasonable citywide support before initiating a recall election. But imposing a pre-

Pandemic numerical signature requirement provides no flexibility for accurately or reliably

determining sufficient support for a ballot initiative when the in-person gathering of signatures

is impossible. The threshold thus is not narrowly tailored to achieve the governmental interest of

properly measuring support for recall elections and qualifying them in a fair and objective

process.

       One of the key principles of fair elections is not changing the rules in the middle of the

game—but this is exactly what the state did to PNP in a uniquely harmful way in this case by




                    MOTION FOR TEMPORARY RESTRAINING ORDER
                                  Page 27 of 32
         Case 3:21-cv-01448-MO          Document 4       Filed 10/20/21     Page 28 of 32




banning in-person signature gathering during the very period when PNP had long been planning

to conduct in-person signature gathering.

        Other courts have agreed that initiative requirements–including minimum signature

requirements–fail strict scrutiny and must be adjusted in response to the COVID-19 pandemic-

related orders. In SawariMedia the court held that the state’s compelling interest to ensure that

an initiative has enough verified support can still be achieved by requiring a lesser number of

signatures than what would be required absent a global pandemic. That case dealt with

Michigan’s constitutional threshold of 8% of votes in the last governor’s election—about half of

the percentage required by the Defendants. The SawariMedia court recognized that “there is

nothing inherent in the [8%] signatures threshold that establishes that an initiative has a

modicum of public support only if it has that many signatures.” 466 F.Supp.3d 758, 774 (E.D.

Mich June 11, 2020).

        Likewise, in Esshaki, the court found that the signature threshold for candidates did not

survive strict scrutiny even when the option of running a mail-only petition campaign was

available. Esshaki v. Whitmer, 455 F.Supp.3d 367, 370-371 (E.D. Mich. 2020). The Sixth

Circuit affirmed the Esshaki analysis that the signature threshold did not survive strict scrutiny.

Esshaki v. Whitmer, Fed.Appx. 170, 172-173 (6th Cir. May 5, 2020).

        Other cases have reached similar conclusions when enjoining signature thresholds.

Libertarian Party of Illinois, 455 F.Supp.3d at 745-746; Goldstein, 484 Mass at 517; Faulkner

v. Va. Dep’t of Elections, 104 Va. Cir. 373 (Va. Cir. Ct. Mar. 25, 2020) (the signature threshold

was not narrowly tailored because it did “not provide for emergency circumstances, like those

that currently exist.”).




                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 28 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 29 of 32




        Defendants’ signature threshold for a recall petition is 15% of the votes cast at the last

governor’s election for a full term—47,788 signatures in 2020, the absolute maximum allowed

by the Oregon Constitution. Or. Const., Art. II, § 18(2). At the outset, this is a rather arbitrary

threshold. It is not the number itself that is the government interest but rather what it

represents—a reasonable estimate for what is needed to determine sufficient support. In 2021,

the 15% threshold is uniquely disconnected from historical standards of demonstrating sufficient

support due to more than just Pandemic-related restrictions.

                d. Defendants’ submission deadline cannot survive strict scrutiny in
                these unique circumstances.

        Defendants have ample means to conduct an orderly election process even if the

signature submission deadline were delayed.

        In Fair Maps Nevada, the court found that the existing deadline for petition submission

to qualify an initiative for the ballot was not narrowly tailored to serve a compelling

governmental interest because the defendants could still accomplish what they normally do to

verify the collected signatures to then prepare the initiative for the ballot with less restrictive

means. The court held that it is “both unreasonable and unfair not to extend a statutory deadline

for a corresponding period of time” as the six weeks Plaintiffs were effectively prohibited from

collecting signatures by the Governor’s Stay-at-Home orders. Fair Maps Nevada, 463 F.Supp.3d

at 1146. While recognizing that extending the deadline for submitting signatures could create a

burden on the Secretary for verification, that burden did not outweigh the right to ballot access.

Id. at 1147 (“Thus, the Court does not find severe inconvenience a compelling government

interest given these extraordinary circumstances”).

        Likewise, in Esshaki, the court found that the signature deadline for candidates did not

survive strict scrutiny even when the option of running a mail-only petition campaign. Esshaki v.
                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 29 of 32
          Case 3:21-cv-01448-MO         Document 4        Filed 10/20/21     Page 30 of 32




Whitmer, 455 F.Supp.3d 367, 370-371 (E.D. Mich. 2020). The Sixth Circuit affirmed the Esshaki

analysis that the signature deadline did not survive strict scrutiny. Esshaki v. Whitmer, Fed.Appx.

170, 172-173 (6th Cir. May 5, 2020).

          Other courts have reached a similar conclusion. SawariMedia, 466 F.Supp.3d 758, 762

(E.D. Mich June 11, 2020) (extending initiative signature deadline); Goldstein, 484 Mass at 517

(extending deadline for filing candidate signatures). Because a recall is its own ballot and is

conducted as a special election outside of the normal election calendar, the only natural deadline

for initiating a recall is the end of an official’s term. Defendants would suffer no inconvenience

or accelerated timeline for validating signatures if the deadline were extended by this Court.

C. Plaintiffs Will Suffer Irreparable Harm Without an Injunction

          The Recall Ted Wheeler recall petition popular and has prompted substantial

contributions and volunteer efforts from a wide swath of Portland voters. Without a change to the

electronic signature rules and arbitrary timelines, it is unlikely that another effort would be even

as successful as RTW due to fatigue and a feeling of disenfranchisement from those who have

participated in the present effort. This means that Plaintiffs’ will be deprived of their right to

recall their elected officials under the Oregon Constitution and silenced in their core political

speech.

D. The Balance of Equities Sharply Favors Plaintiffs

          Enforcement of signature-gathering requirements that do not account for extraordinary

public health restrictions effectively bar plaintiffs from gathering signatures to place a recall

of Ted Wheeler before the voters. This causes unique harm to Plaintiffs, because without a

recall election the voters will have no chance to remove an unpopular official from office

before the 2024 election.

                      MOTION FOR TEMPORARY RESTRAINING ORDER
                                    Page 30 of 32
         Case 3:21-cv-01448-MO           Document 4       Filed 10/20/21      Page 31 of 32




        The primary harm to the Defendant of eliminating the 90-day deadline for collecting

signatures, some uncertainty as to when they will be called upon to certify signatures, is

minimal when weighed against a de facto prohibition preventing the plaintiffs from exercising

a fundamental right enshrined in the Oregon Constitution. Removing this deadline would not

affect the amount of time Defendants would have to make their certification and any burden on

Defendants is trivial.

        Reducing the signature threshold would also not increase Defendants’ administrative

burden. Oregon law requires a statistical sampling of at least five percent of signatures

submitted to determine the validity of those signatures. ORS 250.105(5). Reducing the required

number of signatures Plaintiffs must submit would also reduce the number of signatures

Defendant must verify.

        From a practical perspective, the only “harm” to Defendants is that they would have to

fulfill their function of holding a recall election and the question of whether Ted Wheeler

should be recalled would go to the voters. More speech is good.

E. An Injunction Would Serve the Public Interest

        In the absence of action by the Court, the Plaintiffs’ constitutional rights will be abridged.

“[I]t is always in the public interest to prevent the violation of a party’s constitutional rights.”

Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012). This is particularly true for First

Amendment freedoms. Indeed, the harm here will not only be felt by the Plaintiffs. Should they

fail to succeed, the integrity of Oregon’s political system will be harmed to the detriment of all

Oregonians. Because Oregon’s interest in public support and signature integrity can be

accomplished through less restrictive means, there is no reason not to grant the requested relief.

See Associated Press v. Otter, 682 F.3d 821, 826 (9th Cir. 2012) (“[T]he loss of First

                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 31 of 32
         Case 3:21-cv-01448-MO            Document 4     Filed 10/20/21      Page 32 of 32




Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976))); Warsoldier v. Woodford, 418 F.3d

989, 1001 (9th Cir. 2005) (recognizing that a “colorable First Amendment claim” is “irreparable

injury sufficient to merit the grant of relief”).

        This Court would not be alone in finding that the public interest is served by enjoining

the current requirements to place an initiative on the ballot; in response to the COVID-19

pandemic, courts across the nation have recognized that these requirements must be adjusted in

order to preserve citizens’ constitutional rights. See, e.g., SawariMedia, 466 F.Supp.3d 758, 762

(E.D. Mich June 11, 2020) (lowering the number of signatures required and the submission

deadline in order to place an initiative on the Michigan ballot); Fair Maps Nev., 463 F.Supp.3d at

1145-1147 (D. Nev. May 29, 2020) (extending the deadline to submit signatures to place an

initiative on the ballot). Because the requested injunction will preserve the state’s ability to run

an orderly election process while also preserving the constitutional rights of the Plaintiffs, the

public interest also favors an order protecting Plaintiffs.

                                          V. CONCLUSION

        Plaintiffs respectfully request that this Court grant their request for a temporary

restraining order to remove or modify Recall Ted Wheeler’s deadline for submitting signatures,

to order Defendants to accept digital and/or electronic signatures, and to reduce the number of

signatures required to be submitted.

DATED: October 20, 2021

Respectfully Submitted,
          /s/ Juan C. Chavez                                    /s/ Alan Lloyd Kessler
          Juan C. Chavez, OSB #136428                           Alan Lloyd Kessler, OSB #150209
          PO Box 5248                                           1001 SE Sandy Blvd Ste. 210
          Portland, OR 97208                                    Portland, OR 97214

                     MOTION FOR TEMPORARY RESTRAINING ORDER
                                   Page 32 of 32
